Case 1:17-cr-00130-DLH Document 102 Filed 08/24/17 Page 1 of 1
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Local AO 442 (Rev. 10/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

DISTRICT OF NORTH DAKOTA
United States of America
v. )
Natasha Larae Youngbird Case No. 1:17-cr-130-09
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Natasha Larae Youngbird

 

who is accused of an offense or violation based on the following document filed with the court:

WM Indictment C1 Superseding Indictment (} Information © Superseding Information © Complaint

C) Probation Violation Petition ( Supervised Release Violation Petition (4 Violation Notice ( Order of the Court

This offense is briefly described as follows:

Conspiracy to Distribute and Possess with Intent to Distribute Oxycodone
Distribution of Oxycodone

Aiding and Abeiting

Forfeiture Allegation

 

Date: 06/08/2017 /s/ Renee Hellwig

Issuing officer's signature

 

City and state: Bismarck, ND Renee Hellwig, Deputy Clerk

 

Printed name and title

 

Return

 

 

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at (city and state) N ew EF alan) A
Date: S/ 24/1 / Qen Srrsuaon
Sea. C)Arresting offi ich’ 'S signature

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(Printed name and title

 

 

 

 
